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                                   UNITED STATES DISTRICT COURT
                                    DISTRICT OF NEW HAMPSHIRE



    JOHN DOE,1

                           Plaintiff,                                     Civil Action No.
          v.

TRUSTEES OF DARTMOUTH COLLEGE,

                           Defendant.



                           VERIFIED COMPLAINT AND JURY DEMAND

                                               INTRODUCTION

         1.        This lawsuit arises out of defendant Dartmouth College’s (“Dartmouth”) unjust

and unlawful expulsion of plaintiff John Doe for alleged sexual misconduct in December 2018

following an unfair, inept investigation influenced by a pervasive, campus-wide bias and based

upon widely discredited set of inequitable and unfair procedures - procedures which Dartmouth

failed to even follow - all to John Doe’s detriment.

         2.        In May 2018, John had a consensual intimate encounter with Sally Smith,

another student at Dartmouth, that did not involve sexual intercourse.

         3.       Shortly thereafter, Sally Smith made a complaint to Dartmouth, alleging that John

engaged in nonconsensual sexual intercourse with her during their night together in May 2018.

Dartmouth opened an investigation into her complaints under its sexual misconduct policy.




1
  Plaintiff seeks to file this complaint and all pleadings under pseudonym due to the serious and false nature of the
allegations against him and the privacy implications to both himself and Sally Smith, and has concurrently filed with
this complaint a motion requesting such a designation. Plaintiff will file an affidavit, under seal, providing his name,
address, and attesting to the accuracy of the facts alleged in the Complaint if the Court so requests.
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       4.      Despite the “he said/she said” nature of the case, during the course of its

investigation, Dartmouth failed to consider relevant exculpatory evidence, including the results

of a polygraph test taken by John and administered by one of the most respected polygraph

examiners in the Northeast and the forensic testing of clothing and bedding.

       5.      Dartmouth also failed to consider the fact that Sally Smith altered text messages

between her and John before submitting them to the Dartmouth investigator and lied to the

Investigator and the Hanover PD.

       6.      Dartmouth, acting by and through its retained investigator, also failed and/or

refused to pursue obvious areas of investigation requested by John in violation of Dartmouth’s

own rules, and failed to conduct basic competent examinations of Sally despite objective

evidence of Sally lying to police and altering evidence, among other things.

       7.      Dartmouth’s quasi-judicial process for hearing Sally Smith’s complaint utilized

the widely discredited single investigator model and lacked basic elements of due process and/or

fundamental fairness, including denying John any opportunity to cross-examine witnesses

offering evidence against him.

       8.      On November 16, 2018, the U.S. Department of Education proposed sweeping

changes to the regulations used by Dartmouth to implement Title IX which underscore the need

for due process and equitable treatment for all parties, including accused parties like John, who

should be entitled to a presumption of innocence, a right of confrontation and other basic

protections. Dartmouth’s current disciplinary process fails to comply with the new Title IX

regulations, which are soon to become law.

       9.      In December 2018, Dartmouth decided that John had engaged in nonconsensual

sexual misconduct with Sally Smith and provided notice of John’s expulsion from the university.




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       10.      John has suffered and will continue to suffer serious damages as a result of

Dartmouth’s actions, including but not limited to the loss of his Dartmouth degree, loss of other

educational opportunities, the loss of incalculable athletic experiences, including a year or more

of athletic eligibility and the benefits, including leadership training, academic and career

advising, coaching, physical training, the loss of job opportunities, reputational harm, and

emotional distress.

       11.      Furthermore, John’s request for relief from Dartmouth’s improper proceeding and

sanction is time sensitive. In the event that John is not able to return to Dartmouth within the

first two (2) weeks of the Winter Term that began on January 3, it is unrealistic to expect that he

will be able to catch up and successfully complete the Term. Moreover, if John is not enrolled in

school for the Winter Term, he will be permanently and irreparably deprived of the opportunity

to play a third season of Division 1 hockey. Accordingly, John files this Verified Complaint

with Prayers for Relief seeking prompt preliminary and, finally, permanent injunctive relief

barring the school’s expulsion on its flawed, biased and negligently conducted disciplinary

process.

                                 JURISDICTION AND VENUE

       12.      This action arises out of Dartmouth’s breach of its contractual and other

obligations to John Doe, as well as its violations of Title IX of the Education Amendments of

1972 (20 U.S.C. § 1681).

       13.      John is an out-of-state resident, and Dartmouth is a resident of New Hampshire.

The amount in controversy is over $75,000.

       14.      This Court has jurisdiction pursuant to 28 U.S.C. §§ 1331 and 1332.

       15.      Venue is proper in this district under 28 U.S.C. § 1391(b).




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                                            PARTIES

       16.      John Doe is a U.S. citizen who resides outside of New Hampshire. At all times

relevant to this complaint he was a student at Dartmouth College.

       17.      Defendant Trustees of Dartmouth College is a partially federally-funded private

liberal arts college in Hanover, New Hampshire.

                                              FACTS

                  John Doe’s Academic and Athletic Background and Goals

       18.      John grew up and currently lives in Massachusetts. John went to high school in

Massachusetts and graduated cum laude.

       19.      Prior to Dartmouth’s decision to expel him, John was a junior at Dartmouth on

track to graduate in the Spring of 2020.

       20.      John is enrolled at Dartmouth in the Economics program. As of the completion of

the Fall 2018 term, he has a 3.52 GPA.

       21.      While a student at Dartmouth, John has participated in peer tutoring, providing 1-

on-1 guidance to undergraduate students in calculus. In order to qualify as a peer tutor in

calculus, John was required to earn at least an A- in the subject.

       22.      Until Dartmouth’s decision to expel him, John played on Dartmouth’s hockey

team as both a forward and on defense. Hockey has been a huge part of John’s life since he was

a child. John was the captain and leading scorer on the hockey team at his high school. In

accordance with his commitment agreement with Dartmouth, John took a year off between

graduating high school and starting at Dartmouth to play junior hockey. John’s success as a

hockey player was a contributing factor to his admission at Dartmouth.




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       23.      John’s life at Dartmouth as a student athlete is very busy, both in and out of

hockey season. Before the hockey season starts on October 1, the hockey team practices and

works out all summer and through the beginning of the fall. Once the season starts in October,

the hockey team alternates playing home and away games every other weekend. For away

games the team generally leaves campus on Thursday.

       24.      As part of his athletic career at Dartmouth, John has participated in the D.R.I.V.E.

leadership program open to student athletes at Dartmouth. D.R.I.V.E. brings together student

athletes from across all of the sports at Dartmouth to discuss leadership and to learn more about

being a good leader and teammate. The program emphasizes development, resilience, ingenuity,

valor, and excellence.

       25.      As a student athlete at Dartmouth, John has access to free tutoring through the

Tutor Clearinghouse and academic advisors.

       26.      As part of Dartmouth Peak Performance, which is available only to student-

athletes, John has a variety of opportunities available to him, including but not limited to a

nutritionist, sports psychologist, career advising, and leadership coaching. John also has an

alumni mentor that helps with balancing the competing stresses of being a student and an athlete,

and also with career placement after graduation.

       27.      Being a student athlete also has other intangible benefits that are of the utmost

value to John, including the spirit of competition in chasing a championship title, the

camaraderie with his teammates, and the privilege of representing his school on a public stage.

       28.      Following the completion of his undergraduate degree, John intends to pursue a

career in professional hockey and a career in finance on Wall Street.




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         29.      John has been accepted to an internship for the summer of 2019. Prorated, his

salary in this position is the equivalent of $85,000 per year with the opportunity to earn a signing

bonus of $5,000. Upon successful completion of this internship, the employer would offer John

a full-time position after graduation. If John is expelled from Dartmouth, he loses this internship

and career opportunity.

         30.      Dartmouth has been paid $23,389.88 for John Doe to enroll in the Winter 2019

Term that begins January 3, 2019, and John is fully enrolled in classes.

                                  Plaintiff’s Interactions with Sally Smith

         31.       John Doe had been friends with Sally since they both started at Dartmouth in the

Fall of 2016.

         32.      John and Sally were friends during their freshman and sophomore years, and John

was often a welcoming ear and a shoulder for Sally to cry on in times when she was dealing with

personal issues.

         33.      Previous to the early morning hours of Sunday, May 20, 2018, John and Sally had

engaged in consensual sexual activity on one occasion that did not include sexual intercourse and

on one occasion that did include consensual sexual intercourse, but were not in a dating

relationship.

         34.      John was off from classes during the Spring 2018 term2 and was working at an

internship in Boston.



2
  Dartmouth utilized a unique term scheduling system for its undergraduate programs called the “D-Plan.” Under
the D-Plan, “Dartmouth offers four 10-week terms per year,” Fall, Winter, Spring and Summer. “A Flexible Study
Plan,” Dartmouth.edu, https://home.dartmouth.edu/education/undergraduate-experience/flexible-study-plan.
“[W]ithin some guidelines, you choose which 12 terms to enroll” to constitute their undergraduate programs. Id. In
their first year, students are required to enroll in the Fall, Winter, and Spring terms, and may choose to enroll in the
Summer term. In their Sophomore year, students are required to enroll in the Summer term (“Sophomore
Summer”), and may enroll in as many or as few of the other three terms as they wish. In their Junior year, students
have full freedom for all four terms. Finally, students’ Senior year is identical to their first year.


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        35.      During the Spring term, Dartmouth hosts Green Key Weekend (“Green Key”),

which includes various events scheduled throughout a long weekend.

        36.      On Tuesday, May 15, 2018, John and Sally exchanged text messages in which

they discussed the upcoming Green Key and John anticipated needing a place to stay one or

more nights while he was on campus. Attached hereto as Exhibit A is a chart containing the true

and accurate content of the text messages exchanged between John and Sally from May 15, 2018

through May 20, 2018. As is made clear in Exhibit A,3 Sally initiated the texting conversation

on May 15.

        37.      In response, Sally said “of course . . . me casa es sue [sic] casa . . . of course, you

are totally welcome to stay . . . i have a pretty damn comfy bed--just saying . . . if I have a guy

you can stay in my room and ill go to their room,” to which John responded “Sounds good.” See

Exhibit A at TM35-TM42.

        38.      John took Friday, May 18, 2018 off of work and came up to Dartmouth with a

friend on Thursday evening. At 10:54 p.m. on Thursday, May 17, John texted Sally: “Looking

like I’m going to need that sleepover haha,” Sally replied: “Lmao I’m just going out rn [right

now].” Exhibit A at TM48-TM49. At 12:39 a.m. on Friday, May 18, John texted: “Just let me

know what your plan is.” Id. at TM51. Sally replied: “Still drunk and dancing lmao . . . i think

I’m gonna be hanging out with someone tonight--tbd i might kick them out.” Id. at TM53,

TM55. John ended up sleeping on the floor of a one-room single that night.

        39.      On Friday, May 18, after exchanging texts with Sally that day, John texted: “I

really need a place to sleep if a guy isn’t sleeping over. . . . Plus I wanna say hi at some point


3
 Certain text messages in Exhibit A have been redacted because they include personally-identifiable information,
such as other student names, the names of fraternities and sororities, the names of dormitories, and the name of
John’s internship placement. Allegations quoting these text messages will be similarly redacted. John Doe will file
an unredacted version under seal if the Court requests.


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haha.” Id. at TM69-TM70. Sally responded: “Yes yes of course I wanna say hi too!!!!” Id. at

TM71. Later that night, John texted: “We should meet up soon. If you wanna go out after you

should but I’m so tired and need a bed . . . Because I slept on a floor last night.” Id. at TM85-

TM86. At 1:50 a.m. on Saturday, May 19, after John had already gone to bed, Sally responded:

“...Wya [where you at]?” Id. at TM89. John ended up sleeping in a double suite that night with

five other people.

       40.      At 11:19 a.m. on Saturday May 19, Sally texted John: “[JOHN] . . . U GO TO

SLEEP SO EARLY.” Id. at TM90-TM91. John responded: “Hahahaha . . . It was a long day . . .

Hahah ya I needed a bed bad.” Id. at TM91-TM92, TM96. At 2:17 p.m., Sally texted: “AGH IF

U WERE AWAKE LATER !! also i just wanna say hi.” Id. at TM97.

       41.      At 8:56 p.m. on Saturday, May 19, John texted Sally: “Maybe say hi at some

point?” Id. at TM100. Sally responded affirmatively but that she was studying for a midterm.

Id. at TM101. John texted: “Ok text me when you’re done studying we can watch a movie or

something.” Id. at TM102.

       42.      At 12:08 a.m. on Sunday May 20, John texted Sally: “I leave tomorrow so we

have to say what’s up.” Id. at TM104. Sally responded that she was still studying and she had to

go to bed soon but that she wanted to “say hi too”. Id. at TM105, TM110. John texted: “Ok

should I head over now?” Id. at TM111. Sally responded: “Yeah but don’t expect to come to

my room and hook up.” Id. at TM112. John responded “Sounds good.” Id. at TM113.

       43.      John went to Sally’s room. They put on a movie and got onto Sally’s bed.

Eventually, they began snuggling while watching the movie before kissing consensually and

progressed to other limited consensual sexual activity, including John’s kissing and caressing of

Sally’s body, including her breasts and genital area, outside of her clothing. John removed his




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clothes, but they did not engage in sexual intercourse, and Sally’s clothes remained on for the

entirety of the evening.

       44.      At some point later, Sally left her room, explaining to John that she needed to go

help a friend. John suspected nothing out of the ordinary, since it is not uncommon for people to

drink too much during Green Key and need help.

       45.      John awoke in the morning, collected his belongings, and left Sally’s room. At

9:44 a.m. on May 20, Sally texted John saying, “Had to deal with a friend last night. Don’t know

when I’ll be back--been a shit show.” An hour later, John responded: “100 % understand.”

       46.      John completed the remainder of his finance internship in Boston and returned to

campus for the Summer term.

                             Sally Smith’s Complaint to Dartmouth

       47.      On Sunday, May 20, 2018 at 1:05 p.m., Sally Smith emailed Dartmouth’s Title

IX office stating that “there was an incident last night.”

       48.      On May 21, 2018, Sally Smith met with Dartmouth’s Title IX coordinator, Kristi

Clemens, to discuss the incident and made an official report. Ms. Clemens made a record of

Sally’s report that same day.

       49.      Upon information and belief, the incident was reported to the Hanover PD shortly

thereafter, and the Hanover PD commenced its own investigation.

       50.      Following the report to the police, Dartmouth was asked to suspend its

investigation while the Hanover PD conducted its investigation.

       51.      Although Sally scheduled an appointment with Dartmouth’s College Health

Services for Thursday, May 24, 2018 to obtain a Sexual Assault Nurse Examiner (SANE) exam,

she failed to show up for her appointment and undergo the SANE exam.




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       52.     On July 2, 2018, John met with a Hanover PD officer to discuss Green Key. John

was not apprised of any allegations against him at that time.

       53.     In the beginning of July 2018, the Hanover PD gave Dartmouth permission to

proceed with its Title IX investigation.

       54.     As of the date of filing, no criminal charges have been brought against John

resulting from the complaint made to the Hanover PD.

                           Dartmouth’s Unified Disciplinary Process

       55.     Dartmouth investigates and administers discipline for allegations of sexual assault

in accordance with its Unified Disciplinary Procedures for Sexual Assault (“Unified Disciplinary

Procedures”). “Unified Disciplinary Procedures for Sexual Assault,” Dartmouth Office of

Judicial Affairs, effective June 18, 2014, available at https://student-

affairs.dartmouth.edu/policy/unified-disciplinary-procedures-sexual-assault.

       56.      The scope and timing of the investigation depends upon “whether ongoing fact

gathering by the police requires a temporary delay in further factual investigation by the

College.” Id. at V.A.

       57.      Under the Dartmouth Unified Disciplinary Procedures, “Upon initiating the

investigation, the Director of Judicial Affairs will send the Reporting Person and the Responding

Person a notice of investigation which will include: a copy of the charge; the name and contact

information of the Investigator; and a copy of this policy. The Director of Judicial Affairs will

also inform both parties of Dartmouth’s policy which prohibits Retaliation.” Unified Discipline

Procedures at V.B.1.f.

       58.     Once an investigation is initiated, the Unified Disciplinary Procedures guarantee

that under the policy, the “investigation will be conducted in a prompt, fair, thorough, and




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impartial manner.” Unified Discipline Procedures at V.B.1.g (emphasis added). The Unified

Discipline Procedures further promises that an investigation “will include, at a minimum,

speaking separately with the Reporting Person, the Responding Person and pertinent witnesses,

and soliciting and reviewing documentation relevant to the investigation including available

police reports.” Id. (emphasis added). However, under the Unified Disciplinary Procedures, the

“Reporting and Responding Persons will not be permitted to directly question each other and will

not be required to be present together at any point.” Id. (emphasis added). The Unified

Disciplinary Procedures do not provide for a live hearing. Id.

       59.     Additionally, the Unified Disciplinary Procedures requires that “[a]ll parties and

witnesses are obligated to be completely honest during the course of the investigation. Any

person who knowingly makes a false statement in connection with the investigation may be

subject to College disciplinary action. False statements include statements that omit a material

fact, as well as statements that the speaker knows to be untrue.” Unified Discipline Procedures

at V.B.1.h.(emphasis added).

       60.     The Unified Disciplinary Procedures also encourage reporting persons and

responding persons to “preserve all information and tangible material relating to the incident,”

including “electronic communications (e.g., e-mails and text messages), photographs, clothing,

bedding, and medical information.” Id. at IV.D. “In the case of medical information, prompt

examinations can be crucial.” Id.

       61.     With respect to concurrently pending law enforcement proceedings:

                   The College will . . . comply with valid requests by law enforcement for
                   cooperation in a criminal investigation and may need to delay temporarily an
                   investigation under this policy while law enforcement is in the process of
                   gathering evidence. Once law enforcement has completed its gathering of
                   evidence, the College will resume and complete its investigation. If the
                   Reporting Person wishes to pursue disciplinary charges under this policy while


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                   criminal proceedings are pending, or if the College determines that disciplinary
                   proceedings should proceed, the College will not wait for the conclusion of the
                   criminal case to proceed with the disciplinary process. If the College finds that
                   Sexual Assault occurred, it will take effective steps to end it, prevent its
                   recurrence, and address its effects, regardless of whether external legal
                   proceedings are pending.

        Id. at VI.D.

       62.     Following a finding of misconduct by the Investigator, the Reporting and

Responding Persons are permitted to “submit a statement of position to the Sanctioning Panel by

providing a copy to the Director of Judicial Affairs within five (5) calendar days after the

Director has notified them of the Investigator’s determination of responsibility.” Id. at V.B.4.

       63.     Under the Unified Disciplinary Procedures, an appeal opportunity is available, but

“[a] party may only request review on the following grounds: [1] That the Investigator or the

Sanctioning Panel committed procedural error which materially prejudiced the party requesting

review's case; [2] That the Investigator's findings or the Sanctioning Panel’s decision should be

reconsidered because of newly discovered information which was not reasonably available to the

party requesting review during the investigation and which would likely have affected either the

finding of responsibility or the sanction imposed had it been available; or [3] That the sanction

imposed is excessive, insufficient, or inappropriate.” Id. at V.B.6.a. In considering an appeal,

Dartmouth appoints a “Reviewing Official” who consults with the Dean of the school of both the

reporting and responding person in rendering a decision. Id. at V.B.6.b, c.

       64.     Under the Unified Disciplinary Procedures, the “College reserves the right,

pending the review, to direct that a Student found responsible for violation of this policy, and for

whom the sanction of suspension or separation has been imposed, be required to leave campus

during the time the review is pending. This decision will be made by the Dean of the College (in



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the case of undergraduate Students) or the Dean of the involved graduate or professional school

(in the case of graduate or professional school Students).” Id. at V.B.6.d.

        65.      The Unified Disciplinary Procedures states that they “will apply to all complaints

of conduct regulated by this policy made by students, faculty, staff, or third parties, and will take

precedence over any other Dartmouth policies and procedures with respect to such

complaints.” Id. at I (emphasis added).

                         Dartmouth’s Procedurally Deficient Investigation

        66.      On July 5, 2018, Director of Judicial Affairs Katherine Strong provided a letter to

John Doe notifying him of Dartmouth’s investigation and stating:

                     It has been determined that the report of sexual misconduct made to Title IX
                     Coordinator Kristi Clemens should be referred for further investigation.
                     Specifically, it is alleged that on or about May 19, 2018 you engaged in sexual
                     intercourse with [Sally Smith] ’20 without her consent. This behavior would
                     be in violation of Dartmouth’s Community Standards of Conduct III.

        67.      The letter also notified John that attorney Sara Hellstedt had been named as the

investigator for the matter (“Investigator”). The letter did not provide any detail about the

specific allegation of nonconsensual sexual intercourse. Included with the letter was a Statement

of Understanding to be signed by John.

        68.      On July 12, 2018, Dartmouth’s Title IX Coordinator, Kristi Clemens, issued a No

Contact Order, prohibiting John from having any contact with Sally.4 John diligently followed

the No Contact Order.

        69.      On July 13, 2018, John submitted his signed Statement of Understanding, which

denied the allegation of nonconsensual sexual intercourse. On July 20, 2018, John submitted to



4
 The No Contact Order, by its terms, actually prohibited John from having any contact with himself, which John
believes to have been the result of a typographical error.


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the Investigator a statement of cooperation, proposed witness list, complete text message

exchange with Sally, and summary of evidence.

       70.     On July 18, 2018, Sally met with the Investigator and provided a selected excerpt

of the text messages between her and John. See Exhibit A.

       71.     On August 1, 2018, John met with the Investigator for an interview. On August

17, 2018, John again met with the Investigator for a follow-up interview. John and his advisor

asked the Investigator if they could record the interviews. After speaking with the Director of

Judicial Affairs, Katherine Strong, the Investigator denied them permission to record the

interviews.

       72.     On August 22, 2018, John submitted a letter to the Investigator, which states his

position regarding Sally’s allegations, requests certain discovery from Dartmouth, and clarifies

certain of his responses to questions asked during the August 17 interview. He also requested

additional information about the allegations against him so that he could “defend [him]self

knowingly against the[] accusation(s)” and “participate meaningfully in [the] investigation.”

       73.     On August 30, 2018, the Director of Judicial Affairs, Katherine Strong, emailed

John and confirmed Dartmouth’s position that it had provided adequate notice of the allegations

against him:

                  You were given notification of the allegation under investigation in the
                  notification packet provided to you at your meeting with Adam Knowlton-
                  Young and Kristi Clemens on July 5, 2018. You were also given the
                  opportunity to respond to that allegation in your Statement of Understanding
                  which you returned to our office, denying the allegation.

  The Investigator Failed to Properly Consider That Sally Submitted Falsified Evidence

       74.     In her initial interview with the Investigator, Sally Smith agreed to provide all of

her text messages with John Doe to the Investigator.



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       75.       In her submission to the Investigator, Sally included text messages between her

and John from Saturday, May 19, 2018. However, the text messages she submitted were not

complete. Rather, the messages Sally submitted were edited to remove or change certain

statements to inculpate John.

       76.       Sally did not submit a complete set of the text messages between her and John

from the weekend in question. The messages Sally provided begin with a message from John

from 1:12 p.m. on Saturday, May 20, stating “Haha ya I needed a bed bad.” See Exhibit A at

TM96. She did not provide any messages before that one, despite that they had exchanged 95

text messages between Tuesday May 15 and that message on May 20, most of which were about

Green Key and some of which conveyed John’s anticipated need to find a place to stay that

weekend and Sally’s invitation for him to stay with her, telling him “mi casa es sue casa”. See

id. at TM1-TM95; TM36.

       77.       The complete text messages that John provided show that John’s message that he

“needed a bed bad” was in response to a text message Sally sent to John on the day in question –

May 19 – that she had wanted to see John the night before but he went to bed too early. See id.

at TM90-TM91 (“Sally: [JOHN] . . . U GO TO SLEEP SO EARLY”). Other texts from that

weekend show that Sally was eager to see John. See, e.g., id. at TM84 (Sally: “Yeah! I wanna

see ya too!”).

       78.       Sally’s submission of a select excerpt from their text messages from that weekend

leaves out the full context, including that Sally was eager to see John, that she was frustrated that

John went to bed early the night before, and that Sally was receptive to John’s messages at

multiple points before and during the weekend that he may be looking for a place to stay during

the weekend.




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       79.     Sally’s submission of text messages also omitted her next message that followed

John’s message that he “needed a bed bad.” At 2:17 p.m. she again texted John: “AGH IF U

WERE AWAKE LATER!! Also i just wanna say hi.” Id. at TM97. John didn’t respond to that

text until 8:56 p.m. when he told her where he was going and asked whether she was going out.

Id. at TM98-TM100.

       80.     Before submitting her texts to the Investigator, Sally deleted or otherwise omitted

her 2:17 p.m. text to instead make the text chain look like John told her at 1:12 p.m. “Haha ya I

needed a bed bad,” and then the next text between them was from John at 8:56 p.m. telling her

that he was going out. Id. at TM96-TM98. This omission results in a text exchange that is

misleading and that inaccurately diminishes Sally’s eagerness to see John that weekend.

       81.     On November 28, 2018, John brought the issue of Sally’s doctored text messages

to the Investigator’s attention. On November 29, the Investigator stated in response: “I have

received the complete set of text messages between you and [Sally] that you provided early in

the investigation, and compared them to the subset of text messages [Sally] provided when I met

with her. As a result, no further investigation into the matter is necessary.”

       82.     Sally was not disciplined for providing falsified evidence to the Investigator, nor

did the Investigator appear to discredit any statements or accounts given by Sally in light of her

presenting false evidence.

       83.     Considering that Sally submitted doctored text messages to the Investigator, John

is not aware of any efforts by Dartmouth to ascertain whether other evidence she submitted was

not similarly manipulated.

 Dartmouth Refuses to Allow the Investigator to Consider the Results of John’s Polygraph
                                     Examination




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       84.     Shortly after receiving notice of the allegations against him, John arranged to take

a polygraph examination.

       85.     On July 25, 2018, John took a polygraph examination conducted by John Consigli

of Consigli Polygraph Services. The examination consisted of two series, each of which

included two questions which were carefully crafted to match the charges levied against John in

Dartmouth’s investigation:

                   Series 1:
                   Did you engage in sexual intercourse with that woman?
                   Did you engage in sexual intercourse with that woman that night in her room?

                   Series 2:
                   Did you have sexual intercourse with that woman that night?
                   Did you have sexual intercourse with that woman that night in her room?

       86.     John answered “No” to all four questions. The examiner’s analysis of the results

of the testing determined that they did not indicate any deception in John’s responses. The

results were then sent to Milton O. Webb of Dunn, North Carolina for a blind score peer review.

Mr. Webb scored the results of the first series as inconclusive and the results of the second series

as not indicating any deception. Based on his own analysis and the peer review, Mr. Consigli

gave his final opinion on July 26, 2018 that there was no deception indicated in John’s answers

to the four questions.

       87.     The polygraph examination was a single-issue polygraph, which “provides a

greater overall accuracy than [a] multi-issue exam[].” Nelson, Raymond, “Scientific Basis for

Polygraph Testing,” 44(1) Polygraph 28, 43 (2015),

https://apoa.memberclicks.net/assets/docs/nelson_2015_scientific_basis_for_polygraph.pdf.

       88.     In short, the polygraph examination determined - based on a 95% confidence

interval - that John was telling the truth that he did not have sexual intercourse with Sally on the


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night in question. The polygraph also served to support John’s credibility, which Sally publicly

challenged, when he testified truthfully and to the same effect before the Investigator.

       89.     John provided the polygraph results to the Investigator at his first interview on

August 1, 2018, which she accepted. During the August 17, 2018 follow-up interview, the

Investigator stated her assumption that the evidence could be considered because the Unified

Disciplinary Procedures is silent on the consideration of polygraph evidence. However, she

recommended that John and his counsel follow up on the issue with Dartmouth’s General

Counsel about whether the Investigator could consider the polygraph results and, if so, how

much weight the results should be given.

       90.     The Investigator’s deference to the Dartmouth General Counsel on this issue

negates any notion that the Investigator was independent of Dartmouth.

       91.     On August 20, 2018, John’s counsel sent an email to Dartmouth’s General

Counsel, Sandhya Iyer, requesting that Dartmouth’s investigation include consideration of the

polygraph results.

       92.     On September 4, 2018, Dartmouth Associate General Counsel Dana Scaduto sent

a letter to John’s counsel stating that “Dartmouth does not allow polygraph examinations to be

considered in any student proceedings, including those conducted under the College’s Title IX

process.”

       93.     John also offered to make Mr. Consigli and Mr. Webb available for interview by

the Investigator, but Dartmouth refused to permit such interviews to occur.

       94.     The Unified Disciplinary Procedures do not include any discussion of polygraph

results, including any prohibition on their consideration in Dartmouth’s Title IX investigations.




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       95.     There is no publicly-available Dartmouth policy prohibiting the consideration of

polygraph results in student disciplinary proceedings.

       96.     Dartmouth’s Uniform Disciplinary Procedures state that they “will take

precedence over any other Dartmouth policies and procedures with respect to such complaints,”

yet the unwritten “no polygraph” rule, which was not delivered to John with the notice of charge,

is mentioned nowhere.

Dartmouth Refuses to Delay Investigation Pending Results of Hanover PD Forensic Testing

       97.     On information and belief, in or about June 2018, Sally submitted the clothing she

claims she was wearing on the night/morning of the incident to the Hanover PD.

       98.     During her interview on July 18, 2018, Sally told the Investigator that her

“underwear and clothes never got washed,” that “the police came and got them,” and that they

“are at the lab right now.” She indicated her understanding that the police were conducting

forensic testing of her underwear and clothing.

       99.     On October 8, 2018, after seeing the transcript of Sally’s July 18 interview for the

first time, John notified Dartmouth that Sally had submitted her clothing to Hanover PD for

forensic testing and requested that Dartmouth pause its investigation until the Hanover PD had

received the results of its testing. Dartmouth initially approved John’s request and paused the

investigation on October 12, 2018, stating, in an email: “We are currently working to see how

soon this information will be available. It may not be until mid-December.”

       100.    On November 12, 2018, Judicial Affairs Director Strong notified John that the

Office of Judicial Affairs “[had] been notified that the Hanover Police Department will not share

any results from forensic lab testing with the College, regardless of when they become

available,” and that Dartmouth’s investigation would resume.




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       101.      On November 16, John emailed Director Strong, requesting additional

information about the change in Hanover PD’s position. On November 20, Director Strong

responded, stating the following:

                    Over the last few weeks, we spent a good deal of time communicating with
                    both HPD and the County Attorney about the importance of the availability of
                    all potentially material and relevant information to Dartmouth’s Title IX
                    process. After considering our position, we were informed that the initial
                    position of HPD that the test results would not be released to Dartmouth at
                    any time was final. Our process is moving forward to completion utilizing all
                    information available to us at this time. Should the test results we have been
                    seeking from HPD or the County Attorney become available at some point in
                    the future, we invite you to bring it to our attention.

       102.      Upon information and belief, the Hanover PD has never indicated that it would

never release the results of the forensic testing to John and Sally.

       103.      In her final report, the Investigator noted that “[w]hile [the] investigation would

have considered the result of the forensic testing had the Hanover [PD] agreed to provide it, the

result would have been one point of data among a constellation of many, and would not

necessarily have been dispositive or entitled to greater or lesser weight than any other.”

       104.      Dartmouth never requested that either John or Sally cooperate in asking the

Hanover PD to release the results of the forensic testing to Dartmouth or to request that Sally’s

clothing - or any biological material extracted therefrom - be released so that Dartmouth, John or

Sally could seek independent testing.

       105.      John was never given an opportunity to seek independent testing of Sally’s

clothing or any biological material extracted therefrom.

       106.      As of the filing of this Verified Complaint, John has not received any notice from

the Hanover PD that it has received the results of the forensic testing or that it has concluded its

investigation.


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 The Investigator Failed to Conduct Any Follow-up Investigation of the Inconsistencies in
                                    Sally’s Account
       107.    John was not permitted to cross-examine Sally or to question her in any way in

real-time or through written interrogatories at any point during the investigation.

       108.    On September 21, 2018, the Investigator issued a 14-page preliminary report, with

612-page appendix (“Preliminary Report”), in which she made findings that John engaged in

non-consensual sexual intercourse with Sally.

       109.    This Preliminary Report was the first time that John was really informed of what

the details of the allegations against him were. Therefore, John had not had the opportunity to

respond to those details in his prior statements and submissions to the Investigator.

       110.    On October 8, 2018, John submitted a 10-page response to the Preliminary Report

in which he raised concerns about certain inconsistencies in Sally’s story, factual inaccuracies in

the Preliminary Report, and relevant evidence not considered by the Investigator. John’s

response identified the following inconsistencies in Sally’s story:

           A. Sally’s inconsistent statements on whether she and John had had intercourse in the
              Fall of 2017;
           B. Sally’s false statement to the Hanover PD that John texted her the morning after
              the incident and caused her distress, when in fact she was the one who texted first;
           C. The inconsistency between Sally claiming she was trying to draw a clear line that
              she and John would not be engaging sexually that night and her statement that she
              undressed in front of him;
           D. Sally’s statements that she avoided John’s teammates which was contradicted by
              the evidence that she sought out nearly half of John’s teammates who were on
              campus that summer to share her account of what happened between her and
              John;
           E. Sally’s false statements about being approached in the dining hall by the girlfriend
              of one of John’s teammates;
           F. The inconsistencies between the photographs of the bruise on Sally’s leg that she
              submitted to the Investigator and the story she told about how she got that bruise;



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            G. The inconsistencies between Sally’s various accounts of her involvement in the
               incident (e.g., “just laying there” vs. engaging in a “struggle” against John);
            H. The three contradictory stories Sally gave about what she did with the clothes she
               was wearing that night between the time she took them off to shower and when
               she provided them to the police (i.e., telling the Hanover PD officer that her
               clothes were in the back of her drawer, telling the Investigator that she put her
               clothes in a plastic bag immediately after showering on May 29, and the text
               messages from May 22 confirming that she had not done anything with her
               clothes before that point);
            I. The inconsistency between Sally stating that she tried to avoid John’s teammates
               and his fraternity and that fact that in July, when she knew John was living at the
               fraternity house, she asked if she could attend a party at the fraternity house; and
            J. The inconsistency between Sally stating that John was partying on campus and at
               his fraternity during the Summer and Fall terms, when John provided evidence
               that he went home to be with his family every available weekend during the
               investigation.
         111.    Additionally, John provided several proposed questions for the Investigator to ask

Sally.

         112.    John also identified a new proposed witness for the Investigator to interview and

suggested further questioning of one existing witness and of Sally. These suggested lines of

inquiry could have potentially shed light on possible motivations for Sally to embellish or

provide a false account of what occurred on May 20, and to impeach Sally’s credibility on

certain facts.

         113.    Upon information and belief, the Investigator did not conduct any interviews of

the individuals identified by John in his October 8 response, conduct any follow-up investigation

on the inconsistencies John identified, ask any of the questions John requested, or ask any

obvious questions like, “why did you omit the 2:17 p.m. text message from your submission,” or

“why did you omit the text messages where you told John ‘mi casa es su casa’ or that you have a

‘comfy bed’”




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       114.    On November 29, 2018 , the Investigator issued her 19-page final report, with

613-page appendix (“Final Report”), in which she concluded that “the preponderance of the

evidence supports a finding that [John] engaged in penetrative sexual intercourse without

[Sally’s] consent” and that “[a]s a result . . . [John] committed sexual assault against [Sally] in

violation of Standard III of the Unified Procedures.”

       115.    In this Report, the Investigator attempted to explain away Sally’s omissions and

falsifications by stating, “Because [John] provided a complete set of text messages early on in

the investigation, [Sally] was not asked to supply a duplicative set.”

       116.      The Final Report did not indicate that the Investigator credited John’s evidence

or witnesses, conducted any of the additional investigation John requested, asked any of the

questions submitted by John of Sally or other witnesses, or discredited Sally’s text messages or

other statements based on her objectively demonstrable omissions and misrepresentations in her

text message submission.

       117.    Furthermore, in her Final Report the Investigator credits the account of a friend of

Sally’s - who is the girlfriend of one of John’s friends - in part because of the Investigator’s

incorrect finding that the girl is John’s friend. Additionally, appended to the Final Report are

text messages between Sally and this friend where the friend says of hockey players: “They’re all

trash . . . I hate them all.” This girl’s friendship with Sally and her obvious bias against hockey

players casts doubt on her credibility, but this was ignored by the Investigator.

       118.    The Preliminary Report and Final Report - along with other documents

comprising the substantial majority of the relevant record in this case - are available to John

through a secure online portal (“Portal”).




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       119.    The Portal is only accessible by users authorized by Dartmouth, including John

and his counsel. None of the documents available for review on the Portal are available to

download or print. Accordingly, John does not yet have in his possession a copy of the

Preliminary Report, Final Report, or other relevant documents.

       120.    Undersigned counsel has conferred with counsel for Dartmouth and are working

cooperatively to obtain the documents pursuant to an appropriate protective order. In the event

that the documents are obtained, John will file them under seal pursuant to the anticipated

protective order. If no agreement on the protective order can be reached and Dartmouth refuses

to make the relevant materials on the Portal available to John, his counsel, and the Court for the

purposes of litigating and resolving this matter, John intends to request that such refusal result in

an adverse inference against Dartmouth.

                                     The Sanctioning Process

       121.    Pursuant to the Unified Disciplinary Procedures, the proceeding next went to a

sanctioning panel (“Sanctioning Panel”) for determination of John’s sanction based on the

Investigator’s findings. The Sanctioning Panel consisted of: Adam Knowlton-Young, Assistant

Director of Judicial Affairs; Dean Katherine Burke, Student Affairs; and Professor Nathaniel

Dominy, Anthropology.

       122.    On December 4, 2018, John Doe submitted an initial sanctioning statement to

Dartmouth’s Office of Judicial Affairs to be forwarded to the sanctioning panel that would

determine John’s sanction(s). John’s statement expressed his sorrow over the situation, provided

some context for his feelings and understanding during the incident, and included some

background about his positive experiences at Dartmouth.




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       123.      In her statement on sanctioning, Sally Smith was again dishonest by omitting and

misrepresenting material facts, including misquoting John’s statements from written text

messages.

       124.      In her statement on sanctioning, Smith claimed to quote from text messages John

sent her. She wrote, “1:12PM—[John]: “I need a bed bad.” She then editorialized “Where did

you stay last night? Don’t you already have a place to stay? Why do you NEED to stay with

me?”

       125.      This is a misrepresentation of both the actual text of the message, and the

meaning of the message in the context it was sent. As explained above, the text John sent her at

1:12 p.m. on May 19, 2018 was in response to a text she had sent him a few hours earlier

complaining that he had gone to bed too early the night before when she had wanted to see him.

John responded, referring to how tired he had been since he had been sleeping on friends’ floors

and in crowded dorm rooms that weekend: “Hahah ya I needed a bed bad.” (Emphasis added).

The statement was in the past tense, as it was about why John had gone to bed early the night

before. And, as explained in depth above, her response was to say “IF U WERE AWAKE

LATER,” indicating she would have wanted to see John the night before, and then saying “i just

wanna say hi.”

       126.      John was not, as Sally made it seem in her sanction statement, saying he needed a

bed for the night of the 19th. Rather, he was apologizing for going to sleep the night before

when she had repeatedly made clear both on the night of the 18th and morning of the 19th she

had wanted to see John the night of the 18th.

       127.      Sally’s statement also presented two texts as being closer in the conversation than

they actually were, thereby altering the tone of the conversation. Her statement included the




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following two texts: “1:41 AM--[Sally]: ‘Don’t expect to come to my room and hook up’ . . .

1:43 AM--[John]: ‘can you let me in.’” See Exhibit A at TM112, TM118. Her presentation of

these texts purposefully omitted five text messages, three of which were Sally communicating

her eagerness to see John:

            JD: Sounds good

            SS: Perf

            SS: Yes then

            SS: Come to [REDACTED DORMITORY]

            JD: Walking

Id. at TM113-TM117. These omitted text messages show John’s understanding of Sally’s

boundary that he should not expect to “hook up” and Sally’s excitement at him coming to see

her. Sally’s omission of this crucial context in her sanctioning statement results in a misleading

exchange.

       128.       Sally’s statement was also highly critical of the delay in Dartmouth’s proceeding

to allow for Hanover PD to test the clothing that she had provided to them, and lamented how

long the proceeding had taken.

       129. On December 10, 2018, at 7:26 a.m., after being given a second opportunity to
submit a sanctioning statement, John emailed a supplemental sanctioning statement to the

Assistant Director of Judicial Affairs for forwarding to the Sanctioning Panel. In addition to the

items included in his previous statement, the supplemental statement also included a plea for the

Sanctioning Panel to “look at the evidence in the record, rather than [Sally’s] characterization of

that evidence.”




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       130.    The Sanctioning Panel determined that the sanction for the finding that John had

engaged in sexual assault was to be his expulsion from Dartmouth.

       131.    At the meeting with Katherine Strong at which she notified John of the expulsion

decision, John indicated that he would be appealing the decision and asked about requesting to

remain on campus pending the appeal. Ms. Strong indicated that he could make a request, but

that the decision had already been made that his request to remain on campus would be denied.

       132.    On December 13, 2018, John made a formal request to Dean Kathryn J. Lively,

Dean of Students, to remain on campus while he appealed the Investigator’s findings and the

sanctions against him.

       133.    Even though John had been permitted to remain on campus in classes and

participating in all athletic activities during the pendency of the investigation, most students were

off campus for winter break, and he had paid tuition for the upcoming Winter Term, his request

was denied.

       134.    Over the course of the investigation, John remained on campus, was never a threat

to anyone, and strictly adhered to the No Contact Order. There was not reason to believe he was

a danger to the community, especially because at the time of expulsion almost no one was even

on campus besides winter sports teams.

                                            The Appeal

       135.    On December 19, 2018, John filed his appeal of the determination and sanction

against him. John’s appeal cited the following procedural errors made by the Investigator:

               A.   Refusal to consider the results of the polygraph test or the fact that John
                    submitted to a polygraph test;
               B.   Failure to consider inconsistencies in Sally’s account;
               C.   Failure to consider evidence of Sally withholding and fabricating evidence;
                    and
               D.   Failure to conduct appropriate follow-up investigation.



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        136.     John also raised concerns about the Investigator’s bias in favor of Sally and

against John, and about Sally being permitted to submit new (and false) evidence in her

statement to the Sanctioning Panel.

        137.     Notwithstanding that the request for review was submitted on December 19, and

knowing that the hockey season resumed on December 26 and the Winter Term began on

January 3, 2019, John still awaits a decision on his appeal.

    Pressure on Dartmouth to Respond Harshly to Allegations of Violence Against Women

        138.     Before, during, and since the pendency of the case against Plaintiff, significant

attention at Dartmouth had and has been focused on the issues of violence against women and

sexual misconduct.

        139.     On April 4, 2011, Russlyn Ali, Assistant Secretary for Civil Rights at the U.S.

Department of Education, issued a “Dear Colleague” letter to schools and universities setting

forth the Department’s position on schools’ obligations to prevent and address sexual harassment

and violence under Title IX.

https://obamawhitehouse.archives.gov/sites/default/files/dear_colleague_sexual_violence.pdf.

        140.     The now discredited Dear Colleague Letter included several procedural

requirements and suggestions for schools to utilize in investigating and preventing sexual

violence, and clarified that noncompliance with the Department’s stated position on the issue

could result in the loss of Federal funding.

        141.     The Dear Colleague Letter states: “If a school knows or reasonably should know

about student-on-campus harassment5 that creates a hostile environment, Title IX requires the




5
 The use of the term “harassment” or “sexual harassment” in the Dear Colleague Letter includes “sexual violence.”
Dear Colleague Letter at 1, n. 2.


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school to take immediate action to eliminate the harassment, prevent its recurrence, and address

its effects.” Dear Colleague Letter at 4.

       142.    Regarding concurrent law enforcement investigations of sexual violence, the Dear

Colleague Letter provides that “the school’s Title IX investigation is different from any law

enforcement investigation, and a law enforcement investigation does not relieve the school of its

independent Title IX obligation to investigate the conduct.” Id. “Police investigations may be

useful for fact-gathering; but because the standards for criminal investigations are different,

police investigations or reports are not determinative of whether sexual harassment violates Title

IX.” Id. at 10. “Schools should not wait for the conclusion of a criminal investigation or

criminal proceeding to begin their own Title IX investigation and, if needed, must take

immediate steps to protect the student in the educational setting.” Id. “Although a school may

need to delay temporarily the fact-finding portion of a Title IX investigation while the police are

gathering evidence, once notified that the police department has completed its gathering of

evidence . . . the school must promptly resume and complete its fact-finding for the Title IX

investigation.” Id.

       143.    The Dear Colleague Letter includes the Department’s position that schools must

utilize a preponderance of the evidence standard in investigations of sexual violence, rather than

a clear and convincing standard. Id. at 11 (“Grievance procedures that use this higher standard

are inconsistent with the standard of proof established for violations of the civil rights laws, and

are thus not equitable under Title IX.”).

       144.    The Dear Colleague Letter confirms that in a school’s Title IX investigation, “the

parties must have an equal opportunity to present relevant witnesses and other evidence,”

however “[the Department] strongly discourages schools from allowing the parties to personally




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question or cross-examine each other during the hearing.” Id. at 11-12. The Dear Colleague

Letter does not mention whether schools may allow parties to submit questions to an investigator

who will then ask the other party.

       145.      On September 22, 2017, the Department issued a letter withdrawing the 2011

Dear Colleague Letter as well as the “Questions and Answers on Title IX and Sexual Violence”

issued April 29, 2014. Letter from Candice Jackson, Acting Assistant Secretary for Civil Rights,

U.S. Dep’t of Education, Sep. 22, 2017, available at

https://www2.ed.gov/about/offices/list/ocr/letters/colleague-title-ix-201709.pdf.

       146.      In support of this action, the Department cited concerns that the 2011 and 2014

guidance documents led to “deprivation of rights” for students and that the Department had not

followed a formal public notice and comment process before issuing the 2011 and 2014 guidance

documents. Id.

       147.      The Department acknowledged that the Dear Colleague Letter placed “improper

pressure upon universities to adopt procedures that do not afford fundamental fairness.” Id.,

citing “Open Letter form the Members of the Penn Law School Faculty,” Sexual Assault

Complaints: Protecting Complainants and the Accused at Universities, Wall St. J. Online (Feb.

18, 2015); “Rethink Harvard’s Sexual Harassment Policy,” Boston Globe (October 15, 2014)

(schools adopted procedures that “lack the most basic elements of fairness and due process, and

overwhelmingly stacked against the accused, and are in no way required by Title IX law or

regulation.”).

       148.      In place of these documents, the Department issued a new question and answer

document – the September 2017 Q&A on Campus Sexual Misconduct – to guide institutions

while the Department conducts an official rulemaking process to promulgate new Title IX




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regulations. “Q&A on Campus Sexual Misconduct,” U.S. Dep’t of Education, September 2017,

https://www2.ed.gov/about/offices/list/ocr/docs/qa-title-ix-201709.pdf.

         149.     The new Q&A guidance makes clear the Department’s expectation that the

standard of evidence for school’s investigations of sexual violence under Title IX be the same as

the standard used in other disciplinary proceedings, thus requiring many schools to either raise

the standard used in Title IX investigations, or lower the standard used in all other proceedings.

         150.     The Q&A guidance also reversed the Department’s previous controversial policy

that required school to provide appeal rights to both complaining and responding parties equally.

         151.     On November 29, 2018, the Department issued proposed regulation to implement

Title IX. “Nondiscrimination on the Basis of Sex in Education Programs or Activities Receiving

Federal Financial Assistance,” 83 Fed. Reg. 61462 (Nov. 29, 2018) (“Proposed Regulations”).

The Proposed Regulations follow the Department’s withdrawal of the 2011 Dear Colleague

Letter and its own investigation of Title IX compliance in school sexual assault investigations

and proceedings, which included discussions with various stakeholders.

         152.     One of the stated goals of the Proposed Regulations is to “[e]stablish procedural

safeguards that must be incorporated into a recipient’s6 grievance procedures to ensure a fair and

reliable factual determination when a recipient investigates and adjudicates a sexual harassment

complaint.” Id.

         153.     As part of its own investigation into how recipients handle Title IX complaints,

the Department reviewed various criticisms of the policies set forth under the Dear Colleague




6
  “Recipient,” as used in the Proposed Regulations, refers to schools and universities who are recipients of Federal
financial assistance. Id. (“The proposed regulations would also specify how recipient schools and institutions
covered by Title IX (hereinafter collectively referred to as recipients or schools) . . . .”).


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Letter and other previous guidance, including criticism “that those guidance documents

pressured schools and colleges to forgo robust due process protections.” Id. at 61464.

       154.     Deficiencies in recipient responses to Title IX complaints identified by the

Department include “lack of notice to the parties, lack of consistency regarding both parties’

right to know the evidence relied on by the school investigator and right to cross-examine parties

and witnesses, and adjudications reached by school administrators operating under a federal

mandate to apply the lowest possible standard of evidence.” Id.

       155.     Due process protections and other requirements set forth in the Proposed

Regulations include (with citation to proposed rule number):

           A.   Complainants and respondents must be treated equitably (34 CFR §
                106.45(b)(1));
           B.   Credibility determinations may not be based on a person’s status as a
                complainant, respondent, or witness (§ 106.45(b)(1));
           C.   Notice of allegation provided to the parties must include sufficient details known
                at the time, including the identities of the parties involved in the incident, if
                known, the specific section of the recipient’s code of conduct allegedly violated,
                the conduct allegedly constituting sexual harassment, and the date and location of
                the alleged incident, if known (§ 106.45(b)(2));
           D.   Grievance procedures must require an objective evaluation of all relevant
                evidence, including both inculpatory and exculpatory evidence (§
                106.45(b)(1)(ii));
           E.   Grievance procedures must provide an equal opportunity for the parties to present
                witnesses and other inculpatory and exculpatory evidence (§ 106.45(b)(3)(ii));
           F.   Grievance procedures must provide both parties an equal opportunity to inspect
                and review any evidence obtained as part of the investigation that is directly
                related to the allegations raised in a formal complaint, including the evidence
                upon which the recipient does not intend to rely in reaching a determination
                regarding responsibility, so that each party can meaningfully respond to the
                evidence prior to the conclusion of the investigation (§ 106.45(b)(3)(iii)); and
           G.   Grievance procedures must include a live hearing at which the parties must be
                permitted to cross-examine each other and all other witnesses (§ 106.45(b)(3)(iv).




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       156.    Dating at least back to 2013, student groups and others have criticized and put

pressure on Dartmouth in the form of protests and demonstrations over Dartmouth’s handling of

sexual assault allegations.

       157.    In response to the pressure, Dartmouth canceled classes and instituted alternative

programming centered around the issues raised by the protesters.

       158.    In 2014, former Dartmouth College Dean Rebecca Biron published an article

titled “BEHIND CLOSED DOORS: RAPE, MURDER, AND THE MISPLACED

CONFIDENCE OF MEN.”

       159.    The article expressed an assumption that men are violent, stating: “[w]hat makes

it so hard for some men to question their own assumptions and so easy for them to act boldly and

brutally when faced with closed doors?”

       160.    In that article, Dean Biron equated a Dartmouth undergraduate student who was

acquitted by a jury of allegations of non-consensual sex with a classmate to Oscar Pistorius, the

South African athlete who admitted to shooting and killing his girlfriend.

       161.    Dean Biron concluded her article by stating: “We must demand of men, whether

in college or not, a bit more self-doubt and a bit less self-confidence when they are faced with

closed doors, whether they be physical, verbal, or figurative. The legal system values

epistemological humility in order to protect the innocent; individuals should too.”

       162.    Dean Biron stepped down as the Dean of Dartmouth College as of June 30, 2018.

       163.    She was succeeded by Professor Kathryn Lively, a professor of sociology, who

was appointed interim dean of the College starting July 1, 2018.

       164.    Dean Lively’s research and teaching focus on emotion, identity, face-to-face

interaction, social psychology, and gender studies.




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       165.       Dean Lively is reported in The Dartmouth to have said that her vision for the role

of Dean has been shaped by her predecessor. Specifically, “It will be a very hard task to fill

Rebecca Biron’s shoes,” Lively said. And, she said, “Through [Dean Biron], I’ve learned to

keep my eye on the bigger picture and to remember why it is that we do this work. She’s been

inspirational.”

       166.       From 2016 through October 26, 2018, Dartmouth’s student paper, The

Dartmouth, published more than thirty articles about sexual misconduct, most focused on

instances of sexual misconduct at Dartmouth and Dartmouth’s handling of those incidents.

       167.       In February 2017, as reported by The Dartmouth, Dartmouth students staged

performances addressing violence against women.

       168.       In March 2017, as reported by The Dartmouth, the federal government opened its

third investigation into Dartmouth’s handling of sexual misconduct cases. The first two

complaints to the federal government were filed by students in 2013 and 2015, [and remained

open at the time the third complaint was filed].

       169.       In May 2017, as reported by The Dartmouth, there were numerous incidents of

threats of violence against female students at Dartmouth.

       170.       As reported by The Dartmouth, students staged a rally to speak out about sexual

violence on campus in response to the threats against Dartmouth women.

       171.       President Phil Hanlon responded to the May 2017 incidents by stating “sexual

assault, gender-based harassment, interpersonal violence and stalking have no place in our

community.”

       172.       In June 2017, the Senior Survey published in The Dartmouth noted that “[s]exual

assault policy has proved a very salient issue over the last four years. Fifty-one percent of




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seniors thought sexual assault prevention efforts were not very effective or not at all effective

during their time at Dartmouth; 31 percent said they were somewhat effective and only 4 percent

said very effective. More students were also dissatisfied (45 percent) with the amount of

attention and resources devoted to preventing sexual assault from the College and other

organizations than were satisfied (35 percent).”

         173.    In May 2018, just after Green Key weekend, there was a robust student debate in

The Dartmouth over what actually constitutes consent for purposes of sexual activity in response

to members of the sexual assault prevention groups Movement Against Violence and the Student

and Presidential Committee on Sexual Assault placing signs on campus stating that

“Unenthusiastic consent is not consent.” The student-written pieces largely discussed the

prevalence of sexual assault on Dartmouth’s campus, discounted allegations of false reports, and

urged Dartmouth to take greater action to prevent sexual assault on campus.

         174.    In June 2018, The Dartmouth published another Senior Survey focusing attention

on Dartmouth’s sexual assault policies, noting that “female students express lower satisfaction”

with Dartmouth’s efforts than male students.

         175.    In August 2018, The Dartmouth reported another student demonstration where

students chanted, “rapists are not welcome here,” and expressing “solidarity with survivors of

sexual violence,” and “stress[ing] the necessity of supporting survivors and holding offenders

accountable.” One student expressed “that she was tired of the fact that the fear of being accused

of sexual assault has sometimes been taken more seriously than the actual victims of sexual

assault . . .”




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       176.    In September 2018, The Dartmouth published an article entitled “A retrospective

on discussions surrounding sexual assault,” summarizing the atmosphere at Dartmouth as

follows:

                   Like at many colleges across the United States, sexual
                   misconduct has become a significant source of discussion for
                   both administrators and students at the College in recent years.
                   Many student groups actively work to promote discussions
                   about the topic and to eradicate sexual violence on campus.
                   Administrators have implemented numerous policies and
                   programs to combat sexual misconduct, earning the College an
                   award for excellence in preventing sexual assault in 2017.
                   Despite these measures, however, sexual misconduct has
                   continued, sometimes forcing Dartmouth into the national
                   media spotlight.

       177.    The article relates that in 2014, in response to an inappropriate post on a message

board and sexual assault allegations on campus, a student activist organization “created a petition

encouraging Dartmouth to make concrete changes to its methods of addressing these instances of

sexual assault. The petition, which gained 50,000 signatures, told the College, ‘Sexual assault is

serious. Treat it that way.’”

       178.    According to the article, the petition suggested “that students found guilty of

sexual assault be expelled.”

       179.    The article quotes current Dartmouth Title IX coordinator, Kristi Clemens, as

saying, “We have really since 2014 ramped up how we talk about sexual misconduct, both in

reporting and in expectations.”

       180.    The article reported that “Clemens finds reassurance of the College’s progress [in

sexual assault policy]” in the fact that reported incidents are on the rise and that Dartmouth was

“third in the United States for reported rapes in 2014 . . . .” She said, “We know from national

data that sexual assault is happening on all college campuses . . . . If we’re seeing more reports,




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that’s actually a good thing because then we’re getting resources to those reporting parties where

we’re going through potentially a conduct hearing and holding people accountable for harming

others in the community.”

       181.    On September 28, 2018, in the midst of the U.S. Senate hearings regarding the

nomination of Justice Brett Kavanaugh to the U.S. Supreme Court, the leadership of Dartmouth’s

Student Assembly sent an email to all undergraduate students at Dartmouth with the subject line

“Dr. Ford: We believe you.” The body of the email presented an example of the pervasive view

at Dartmouth that accusers of sexual assault are to be believed simply because of their status as

accusers:

                   Following yesterday’s Senate hearing, we, the members of Student Assembly,
                   want to express our admiration for Dr. Christine Ford and her tremendous
                   bravery - we believe you, Dr. Ford. You have made your voice heard at
                   immense personal cost, and in doing so, you have empowered survivors
                   everywhere with an untouchable example of courage and resolve.

                   It is unfortunate and revealing that telling your story has required such
                   courage. All of us should take note of the ways we contribute to a society
                   where survivors of sexual assault feel systematically silenced.

       182.    In November 2018, The Dartmouth reported that Dartmouth was in the national

news when seven women filed a $70 million lawsuit against the College for ignoring over 16

years of sexual harassment by three male professors. There were similar articles in news outlets

across the country, including an article in Rolling Stone Magazine on November 15, 2018.

       183.    On December 3, 2018, The Dartmouth published an article entitled “Alumni

question donating after sexual harassment lawsuit.” In the article, several regular female donors

state that they will not donate money to Dartmouth as a result of the allegations set out in the

lawsuit. One donor is organizing an open letter to be circulated among alumni and released in




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January. Another donor said that she would not donate to Dartmouth unless Dartmouth “close[s]

its fraternities.”

        184.     An article in The Dartmouth published December 10, 2018, focuses on the lawsuit

and criticizes Dartmouth’s “practices concerning sexual assault survivors,” focusing solely on

female survivors, and concludes by saying, “The administration knows that if they don’t do

anything, it’s not good public relations for them . . . As disturbing as it is that that’s kind of a

necessity, it’s helpful right now for us to get things that really need to change to change, now that

the College is listening.”

        185.     On December 12, 2018, the day that John Doe was sanctioned by Dartmouth,

President Hanlon sent an email to Dartmouth students, faculty, and staff providing a statement on

the lawsuit. In the email, President Hanlon states: “We owe it to the students who came forward

in 2017, as well as to past generations of Dartmouth women and current and future students,

faculty, and staff, to make our community the best it can be.” (Emphasis added).

        186.     Another article in The Dartmouth published on December 17, 2018 describes a

“letter in support of sexual harassment plaintiffs,” that comes from a group called the Dartmouth

Community Against Gender Harassment and Sexual Violence, again, solely focusing on female

plaintiffs, that was signed by “nearly 800 alumni, current undergraduate and graduate students,

faculty, staff and other members of the Dartmouth community,” which was presented to College

President Phil Hanlon and the Board of Trustees on December 6, 2018, during the pendency of

Doe’s proceedings at Dartmouth. In the letter, students and alumni openly criticize Dartmouth

for being biased against women in its consideration of sexual assault complaints. In response,

President Hanlon sent a community-wide email assuring the recipients, “We unequivocally share

the goal of the women who brought the lawsuit,” against the three professors, and promising “a




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‘sweeping plan’ to combat sexual assault on campus, citing steps already taken in the 2015

Moving Dartmouth Forward campaign and the 2016 Inclusive Excellence campaign.”

       187.     On January 1, 2019, the Boston Globe published an article titled “After sexual

harassment case, what’s next for Dartmouth College?”, in which it discussed reactions to the

lawsuit brought against Dartmouth regarding alleged sexual harassment by the psychology

professors. Diana Whitney, spokeswoman for the Dartmouth Community Against Gender

Harassment & Sexual Violence, was quoted: “There needs to be a really broad cultural change at

the institutional level . . . We don’t see this is as an isolated incident at Dartmouth.” Whitney’s

group plans to send a letter to Dartmouth administrators this month outlining proposed changes.

The article reports that in response to the lawsuit and the reaction thereto, President Hanlon has

promised a “sweeping plan” to be unveiled this month; the article reports that “a committee has

been working on recommendations for more than a year.” The article confirms prior reporting

that “alumni have expressed frustration and threatened to withhold donations over the handling

of the case.”

       188.     On January 3, 2019, on the first day of the Winter Term, President Hanlon sent an

email to Dartmouth students, faculty and staff unveiling Dartmouth’s new Campus Climate and

Culture Initiative (“C3I”), which “will seek to foster healthy, professional, and nurturing

relationships among faculty, staff, and students. President Hanlon explained that C3I

“embrace[s] and expand[s] upon the recommendations for institutions of higher education made

in a groundbreaking report . . . from the National Academies of Sciences, Engineering, and

Medicine (NASEM), called ‘Sexual Harassment of Women: Climate, Culture, and

Consequences in Academic Sciences, Engineering, and Medicine.’” (Emphasis added).

President Hanlon also announced that Dartmouth would be revising its sexual misconduct policy,




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establishing mandatory Title IX training for faculty, staff, post-doctoral scholars, and graduate

and professional students, and expanding the capacity of its Title IX office. The same day, the

Boston Globe published an article entitled “Dartmouth College outlines steps to address sexual

harassment,” publicizing Pres. Hanlon’s email to the Dartmouth community, and stating that a

student and alumni group called the Dartmouth Community Against Gender Harassment and

Sexual Violence, “had demanded that administrators change the ‘broader culture that permits

sexual misconduct to recur.’”

       189.    It was against this politically charged backdrop of three pending federal

investigations, numerous articles and complaints criticizing Dartmouth’s process for handling

sexual assault complaints, student and alumni group demonstrations and letters to the President

and Board of Trustees criticizing the handling of sexual assault allegations by female students,

the wave of criticism brought about by the November 2018 lawsuit, and the news of decreased

and withheld alumni donations that Dartmouth investigated the allegations against John Doe and

expelled Doe from the school.

                               Consequences of Dartmouth’s Decision

       190.    If Dartmouth’s expulsion of John is allowed to remain, John will be irreparably

harmed.

       191.    The expulsion from Dartmouth will significantly affect John’s undergraduate

career. The decision from the Sanctioning Panel came too late into the 2018-2019 academic year

for John to be able to submit transfer applications to other schools for the Spring 2019 semester.

As a result, John will not be able to transfer into another school until the Fall 2019 semester.

This gap in John’s education will need to be explained to future employers, which may require

disclosure of his expulsion.




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         192.   The fact that John has been expelled - and the reason therefore - also place in

doubt his ability to transfer to another school. Without redress from this Court, John’s transfer

application to any school will have to disclose the expulsion from Dartmouth, which will weigh

against his admission.

         193.   If John’s expulsion is allowed to remain, his internship for the Summer of 2019

will be revoked. As a consequence, John will be deprived of the almost guaranteed future job

offer from his internship placement and will certainly be deprived of his right to earn such an

offer.

         194.   NCAA student-athletes are allowed to compete for four seasons in one sport and,

for Division 1, have five calendar years in which to play four seasons of competition.

         195.   With limited exceptions, Division 1 student-athletes “who compete for any

amount of time during a season use up one season in their sport”. See,

http://www.ncaa.org/student-athletes/current/transfer-terms.

         196.   John has already played in nine games for Dartmouth in the 2018-2019 season.

Accordingly, he would not be eligible to play for another Division 1 school’s ice hockey team

for the 2018-2019 season and would lose an entire year of eligibility if required to transfer.

Furthermore, transferring to any other Division I ice hockey program requires sitting out an

entire season. This means that the next full season John could possibly suit up is 2020-21, which

is after his projected graduation date. John would have to further delay his graduation in order to

play college hockey again or find a way to enroll in a graduate program, which would extend the

time before he could either play professional hockey or embark on his career in finance.




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       197.    Division 1 college hockey programs assemble their rosters for incoming classes

anywhere from one to four years before a given class of recruits enters the school and the ice

hockey program.

       198.    Because Division 1 hockey rosters are planned and built through high school and

junior hockey recruitment years in advance, transfer opportunities for upperclassmen are limited.

       199.    If John is expelled from Dartmouth, he will be deprived of the opportunity to

participate in college ice-hockey, perhaps permanently, but certainly on a continuous and

uninterrupted basis.

       200.    John has played hockey his entire life. Being deprived of the experience,

including the joy of competition, the camaraderie of teammates and other intangible benefits of

athletics is all irreplaceable and unremediable with mere money.

       201.    In addition to the far more damaging experiential loss of participation in hockey,

John will also lose the attendant benefits of being a student athlete at a Division 1 school,

including free tutoring and academic advising, athletic, strength and nutritional training,

leadership training, career advising and placement, and the opportunity to travel around the

country.

       202.    Without appropriate redress the unfair outcome of Dartmouth’s flawed

disciplinary process will cause irreparable harm to Plaintiff by not permitting him to complete

his education at Dartmouth, impairing his ability to continue his education elsewhere, depriving

him of a year of athletic eligibility and the accompanying benefits, and impacting his ability to

work in his chosen field should he complete his bachelor’s degree.

                                     CAUSES OF ACTION

                                             I. Title IX




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        203.    John Doe repeats and realleges the allegations above as if fully set forth herein.

        204.    Pursuant to Title IX of the Education Amendments of 1972, Dartmouth is

prohibited from subjecting John to a disciplinary proceeding where sex is a motivating factor in

the decision to impose sanctions.

        205.    Pursuant to Title IX of the Education Amendments of 1972 Dartmouth is further

prohibited from providing a disciplinary proceeding that is not prompt or equitable.

        206.    Upon information and belief, at least one Dartmouth administrator involved in

John’s case looked to continue the actions of her predecessor who held the belief that men are

inherently violent, and that women making accusations of sexual misconduct are to be believed,

even if a jury has found their story to lack credibility.

        207.    Further, the Title IX coordinator expressed that she believed increased reporting

of sexual assault to be a positive development so that Dartmouth could hold more people

accountable.

        208.    Dartmouth felt undue pressure from the federal government, campus student

groups, the national media, and alumni donors to support female reporters by finding male

responding parties responsible for committing sexual assault.

        209.    Dartmouth’s employees made incorrect determinations of fact, ignoring

substantial evidence presented that supported John’s innocence and undermined Sally’s claims

against him, resulting in an erroneous outcome in his case.

        210.    Dartmouth failed to investigate a substantiated claim that Sally fabricated

evidence and was otherwise dishonest in the course of the investigation in violation of

Dartmouth’s Unified Disciplinary Procedures when John presented documentary evidence of

Sally’s violations, which, when viewed in conjunction with the significant procedural and




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substantive errors and in the atmosphere of pressure from the Federal Government, students, and

the media to respond to sexual assault allegations made by female complainants, constituted

selective enforcement of the Unified Disciplinary Procedures.

                                      II. Breach of Contract

       211.     John Doe repeats and realleges the allegations above as if fully set forth herein.

       212.     John paid Dartmouth sums of money for his education, and in return, the

University contracted to provide John with access to its undergraduate degree program.

       213.     The relationship between the parties is contractual in nature, and each party owes

the other certain duties, some of which can be found in Dartmouth’s written policies.

       214.     By the facts alleged herein, Dartmouth breached its contract with John by

instituting and prosecuting an investigation and adjudication in violation of its policies and

procedures.

       215.    Additionally, by the facts alleged herein, Dartmouth breached its contract with

John by instituting and implementing an investigation and adjudication that did not comport with

basic elements of fundamental fairness, including procedural and substantive fairness.

       216.     As a direct and proximate result of that breach plaintiff suffered the harms

described above.

                   III. Breach of Covenant of Good Faith and Fair Dealing

       217.     John Doe repeats and realleges the allegations above as if fully set forth herein.

       218.     Every contract contains within it an implied covenant of good faith and fair

dealing.

       219.     By the facts alleged herein, Dartmouth breached that covenant by pursuing that

investigation and adjudication in an unfair and biased manner.




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          220.     As a direct and proximate result of that breach John suffered the harms described

above.

                                            IV. Negligence

          221.    John Doe repeats and realleges the allegations above as if fully set forth herein.

          222.    Dartmouth had a duty of care, imposed on it by its policies and voluntarily

undertaken, to handle allegations of sexual misconduct and/or violence fairly and consistently.

          223.    By the facts alleged herein, Dartmouth breached that duty by pursuing its

investigation and adjudication in a manner that deviated from its policies, and was unfair and

biased.

          224.    As a direct and proximate result of that breach John suffered the harms described

above.

                                                *        *     *

          WHEREFORE, John Doe respectfully requests that this Court enter judgment against

defendant on all counts of this complaint. John further requests that this Court:

          1.      Issue a preliminary injunction enjoining Dartmouth from enforcing John’s

expulsion and ordering it to allow him to remain on campus, attend classes, and participate in all

campus activities pending the outcome of the Dartmouth appeal, and alternatively, if the appeal

is adversely decided, pending the outcome of this action;

          2.      Order defendant to reverse its finding that John violated its policies, and expunge

his record;

          3.      Order defendant to reinstate John as a student in good standing;

          4.      Award John damages and enhanced compensatory damages in an amount to be

determined at trial;




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5.      Award John the reasonable costs of this action, including attorneys’ fees;

6.      Grant such other and further relief as this Court deems equitable and just.

                 PLAINTIFF DEMANDS A TRIAL BY JURY




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                                          VERIFICATION

       I, John Doe, declare as follows:

       1.      I am the plaintiff in this action.

       2.      I have personal knowledge of the facts set out in the foregoing Verified

Complaint and Jury Demand, and if called upon to testify I would competently testify as to the

matters stated herein.

       3.      I verify under penalty of perjury under the laws of the United States of America

that the factual statements in this Verified Complaint and Jury Demand and true and correct.



Date: January 7, 2019                                    ____/s/ John Doe______________
                                                         John Doe




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Date: January 7, 2019               Respectfully submitted,

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